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         " ,/ -- ....




                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                                        COMPLAINT
                                                                        FOR EMPLOYMENT

Ful.l name(s) ofPlaintiff(s)                       F                    DISCRIMINATION

                                                          V/2019
~                                                         ~~            c             ~


                /2...--f.4'1J2;N..AJA..,1Jb   e;r-ry
Full name(s) of Defendant(s)

This action is brought for discrimination in employment pursuant to (check only those that
apply)=v
        ~        Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to
                 2000e-17 (race, color, gender, religion, national origin).
                 NOTE: In order to bring suit in federal. district court UIJder Title VIL you must
                 first obtain a Notice of Right to Sue Letter from the Equal Employment
                 Opportunity Commission.
                 Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621-
                 634.
                 NOTE: In order to bring suit in federal. district court under the Age
                 Discrimination in Employment Act, you must first file a charge with the Equal
                 Employment Opportunity Commission, and you must have been at least 40 years
                 old at the time you believe that you were discriminated against.

                 Americans with Disability Act of 1990, as codified, 42 U.S.C. §§ 12112-12117.
                 NOTE: In order to bring suit in federal. district court under the Americans with
                 Disabilities Act, you must first obtain a Notice of Right to Sue Letter from the
                 Equal Employment Opportunity Commission.

                 Pennsylvania Human Relations Act, as codified, 43 Pa Cons. Stat§§ 951-963
                 (race, color, family status, religious creed, ancestry, handicap or disability, age,
                 sex, national origin, the use of a guide or support animal because of blindness,
                 deafness or physical handicap of the user or because the user is a handler or
                 trainer of support or guide animals).


(Rev. 100009)




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              NOTE: In order to bring suit in federal district court under the Pennsylvania
              Human Relatiorzs Act, you must first file a complaint with the Pennsylvania
              Human Relations Commission or the Philadelphia Commission on Human
              Relations, and then you must wait one year prior to filing a lawsuit.


I.     Parties in this complaint:

A.     List your name, address and telephone number. Do the same for any additional plaintiffs
       named. Attach additional sheets of paper as n~sary.

Plaintiff      Name:       lt/AtJ!J4               ~ -7.z:--1't1~ -W.Z:~
               Street Address: .1f rq~/2::f't-/ 1qm$~

               County, City.1L
               State & Zip:            ~=
                                        /<i { I
               Telephone Number~)?Od.38

B.     List all defendants' names and the address where each defendant may be served. Make
       sure that the defendant(s) listed below are identical to those contained in the caption on
       the first page. Attach additional sheets of paper as necessary.

Defendant
                  Jhn~ ~
               Street~~<[l~Af/~(JG;
               Name:
                             ......_.....,._.~_.._-=-
               County, C1ty. _  _          ..........,_._........,~--------------
               State & Zip: l/2A _/!!iM:JJ                ·
               Telephone Number: {d{t5) go-.3f31f5

C.      The address at which I sought employment or was employed by the defendant(s) is:

               Employer:.......,.~L.LL..........,Lo,,.LJ'-"'-'=<:-:~~"'-!-::,;i.o;-t...::...-=-=..::..-'--.........,~--...1."--'-:_.:;__..;,.c;::;.s
               StreetAddress:~+--'-'':1--~~:;;;f-:"~-:-<G-....:.=-='-=-''----------­
               County, City:~~"6:;Z;l-l..4~::L:...:~::.:::..------------­
               State & Zip:_,,,.c;.i;..---47"!£-~~~:r--'.::>'l"::>!r:-=:::o-----------­
               Telephone Number:.~~-'->o!~--""'=~-----------

IL     Statement of the Claim

A.     The discriminatory conduct of which I complain in this action includes (check only those
       that apply to your case):

               Failure to hire me
       ~       Termination of my employment
               Failure to promote me


                                                                   -2-
      Case 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 3 of 20




     )!{__   Failure to reasonably accommodate my disability
             Failure to reasonably accommodate my religion
             Failure to stop harassment
             Unequal terms and conditions of my employment
             Retaliation                    i~          -- ,      -    ·
             Other (specify):   ffe/.A £                · .A!)//
                                                           1

                                 f/tt:J/4/Rd
NOTE: Only those growuls raised in the charge filed with the Equal Employment Opportunity
Commission can be considered by the .federal district court.


B.    It is my best recollection that the alleged discriminatory acts occurred or began on or
      about: (month)..lUL'{        , (day) 01' , (year)eMI8.

C.    I believe that the defendant(s) (check one):

       X is still committing these acts against me.
      __ is not still committing these acts against me.

D.    Defendant(s) discriminated against me based on my (check only those that apply and
      state the basis for discrimination, for example, wha.t is your religion, if religious
      discrimination is alleged):
             race _ _ _ _ __                         color _ _ _ _ __
             religion _ _ _ __              ~        gender/sex   £C7YJALc
             national origin _ _ _ _ __
             age     My date of birth is               (Give your date of birth only if you are
                     asserting a claim of age discrimination)

E.    The facts of my case are as follow (attach additional sheets ofpaper as necessary):


~~/hf;J!lf{!;k~,,t°~f~fJ&, aotB.
:I   Arn 4 12.lSA:PJL.BD IN?J.iili:D1JAL




                                               -3-
      Case 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 4 of 20




      NOTE: As additional support for:,, the facts ofyour claim, you may attach to this
      complaint a copy of your charge fjled with the Equal Employment Opportunity
      Commission, the Pennsylvania H~ Relations Commission, or the Philadelphia
      Commission on Human Relations. '                   .
                                     \
ID.   Exhaustion of Administrative Reihedies:

A     It is my best recollection that I filed a charge with the Equal Employment Opportunity
      Commission or my Equal Employment OpportuJ!i.ty counselor regarding the defendant's
      alleged discriminatory conduct on:  RPri-.n..34         ~IB         (Date).

B.    The Equal Employment Opportunity Commission (check one):

             has not issued a Notice of Right to Sue Letter.               ,       ~-1
      ~      issued a Notice of Right to Sue Letter, which I received on D '2       if IC/ (Date).
      r-                                                                       I
      NOTE: Attach to this complaint a copy of the Notice of Right to Sue Letter from the
      Equal Employment Opportunity Commission.

C.    Only plaintiffs alleging age discrimination must answer this question.

      Since filing my charge of age discrimination with the Equal Employment Opportunity
      Commission regarding defendant's alleged discriminatory conduct (check one):

      --. 60 days or more have passed.
      __ fewer than 60 days have passed.

D.    It is my best recollection that I filed a charge with the Pennsylvania Human Relations
      Commission or the Philadelphia Commission on Human Relations regarding the
      defendant's alleged discriminatory conduct on:                                 (Date).

E.    Since filing my charge of discrimination with the Pennsylvania Human Relations
      Commission or the Philadelphia Commission on Human Relations regarding the
      defendant's alleged discriminatory conduct (check one):

             One year or more has passed.
      -      Less than one year has passed.




                                              -4-
         Case
          ,.  2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 5 of 20




IV.      Relief

WHEREFORE, Plaintiff pray& tlmt the Court grant such ~lief as may be appropriate, including
injunctive orders~ dani.ages, and costS as well as (check only those tha.t apply):

                  Direct the defendant to hire the plaintiff.
         ~        Direct the defendant to re-employ the plaintiff.
                  Direct the defendant to promote the plaintiff.
                  Direct the defendant to reasonably accommodate the plaintiff's disabilities.
                  Direct the defendant to reasonably accommodate the plaintiff's religion.
                  Direct the defendant to (specify): _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  If available, grant the plaintiff appropriate injunctive relief, lost wages,
                  liquidated/double damages, front pay, compensatory damages, punitive damages,
                  prejudgment interest, post-judgment interest, and costs, including reasonable
                  attorney fees and expert witness fees.
                  Other(specify):. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



I declare under penalty of perjury that the foregoing is troe and correct.

Signed   this/L day off)~ ,20/f.                                          ~
                                  Signature of Plaintiff
                                  Address
                                                           f#=~, ?h1#
                                                           ~           _!!? ~
                                                           p~~~'2:"'~~~~24~-,~~~14~1~-----




                                  Telephone number      Q74?2)8Df..-o;a              38
                                  Fax number (if you have one) - - - - - - - - - - - -




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EEOC Fona 5 (11/0!I)                                                                                                                                                     .
                       CHARGE Of DISCRIMINATION                                                            Charge Presented To:         Agency(ies) Charge No(s):
             This form iS affecled by Ille PfiVllCy Act r:A 1974. See endosed PriVacy Act                     DFEPA
                    Statement and other lnforrnalion befont ~!his form.
                                                                                                              [!]EEOC                        530-2019-03403
                                                    Pennsylvania Human Relations Commission                                                                 and EEOC
                                                                           State or local Agency. if any
Name (inclble Mr.• Ms•• Mrs.)                                                                                      Home Phone (Incl. Ama Code)           Date of Birth

Mrs. Wanda R. TltUs-Williams                                                                                          (267) 804-0238
Slreet Address                                                                     City. Stale and ZIP Code

4936NORTH19TH STREET, Philadelphia, PA 19141

Named is the Employer, labor Organization, Employment lv,Jerq, Apprenticeship Committee, or State or Local Government ~That I Believe
Discriminated Against Me or OtheJS.. (If more than two, list under PARTICULARS below.}
Name                                                                                                               No. E~ MM1bers            Phone No. (Include Area Code)

SEPTA                                                                                                                 Unknown                    (215) 580-7315
Slleet Address                                                                     City. State and ZIP Code
1234 MARKET STREET, Philadelphia, PA 19107

Name                                                                                                               No.~-                 I   Ptlone No. (Include Area Cede)

                                                                                                                                         I
Street Address                                                                     City, State and ZIP Code




DISCRIMINATION BASED ON (Checlc lfllP'OrXiale box(es}.}                                                                   DATE(S) DISCRIMINATION TOOK Pl.ACE
                                                                                                                                                      Latest
  D       RACE         D      cpt..OR        D       SEX         D       RELIGION       D       NATIONAL ORIGIN
                                                                                                                                Earliest
                                                                                                                            01-01-2018                 07-09-2018
       D       RETALIATION          D       AGE      00       DISABLITY           D         GENETIC INFORMATION
                 D      OTHER (Sp«:ily)                                                                                           D     CONTINUING ACTION
THE PARTICULARS ARE (If additional paper is needed. attach eKtra shoet(s}):
 I worked for the Respondent as a Bus Operator from December 2000 until my termination July 9,
 2018. I am a disabled individual.

 I had back surgery in or around July 4, 2018. I was told by Respondent to report to work on or about
 July 9, 2018. I needed another year to recover.

 I believe that I have been discriminated against based on the Americans With Disabilities Act of 1990
 (ADA) as amended.




                                '

I WMt this charge filed with bolt the EEOC and the State or local Agerw:;y, if any. I          NOTARY - Whet! necessaty for Stale and Local Agency~
v.il advise the agenaes if I change my address or phone runber and I will
cooperate fUly 1Mtfl them in the processing ci my charge in accordance wlh their
procedt.wes.                                                                                   I swear or affkm that I have read 1he above charge and that it is true to
I declare under penalty of peijury that the above is true and correct.                         the best of my knowledge, information and belief.
                                                                                               SIGNATURE OF COMPUJNANT




    Jul232 2019
           Dalf1
                                    ~w          ChargingPany~
                                                                                               SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                               (month. day. )'NI)
                          Case 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 7 of 20


EEOC fonll 5 (11J09)


                        CHARGE OF DISCRIMINATION                                                                Charge Presented To:         Agencyfies) Charge No(s):
            This form is .rfeded by the Privacy Act of 1974. See er""'-i Privacy Act                                 DFEPA
                       Slllllelnenl and Olher iltOnnalion belOre comjlletlng lhis form.
                                                                                                                     (!]EEOC                      530-2019-03403
                                                        Pennsylvania Human Relations Commission                                                            and EEOC
                                                                                Stale or local .AQenCY. I any
Name (/n<fcale Afr., Ms., MB.)                                                                                          Home Phone (Incl. Area Code)     Dale of Birth

Mrs. Wanda R. TitUs-Williams                                                                                               (267) 804-0238
Street Address                                                                            City. State and ZIP Code

4936NORTH19TH STREET, Philadelphia, PA 19141
                                                        ..
                    Case 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 8 of 20




                                      NOTICE OF RIGHT TO SUE {/sSUED ON REQUEST}
To:   Wmda R. Tiius WiRr ns                                                          From:    Philadelphia Dislrict Ofllce
      G3I NORTH 11TH STREET                                                                   llD1 . . . . . Stnlet
      PhillldelphRI, PA 19141                                                                 Suite1300
                                                                                               Phi~         PA 19107




      D        anbehlllf c1 petaJll(:sJ *fl!JlleWd Mime idll1fly i$
               CONRDENT1AL (20 CFR §1801.1(a))

 EEOC Charge No.                                        EEOC Represeciratiwe                                         Telephone No.
                                                        Legal Unit,
                                                        Legal Technician                                             (215) .t40-2l28

Nanci! TOTHEPatsoll AGGRIEVED:
Title VI cf the Civil Rights Act cf 196C. the Amelicans with Disabilities Act (ADA),..or the Genatic lnfonmtion Nondisc:riminat
Act (GINA): This is yout Notice of Right to Sue. issued under Title VII, 1he ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or slale court WITHIN ID DAYS
of your receipt of this notice; or your ri{llt to sue based on this charge will be lost (The time limit for filng suit based on a claim under
state law may be dilferent.)

      D        More than 1so days 1me passed since the filing of this charge.
      [[]      Less than 180 days have passed since the filing of lhis charge. but I h8Wl determined 1hat it is unlltely that the EEOC wil
               be able to complete its administrative processing wilhin 180 days from the filing of tis chalge.
      (!]      The EEOC is termiliatilig its processing of this charge.

      D        The EEOC will conliooe to process this charge.

90 days after you~ nolice1hat we have ccimpleted action on the dlarge. In this regard,
your case:
                                                                                                    the.,....,........,...,.,
Age DiScrimination in EmploJment Act (ADEA): You may sue under the AOEA at Bit'/ time from 60 days after the charge was filed 001i1
                                                                                                                     apples to

      0        The EEOC is closing your case. Therefore. your~ undlllr the ADEA must be fillld in fedlral or stale court WllllN
               19 PAD of your NC9ipt cf 1his Notice. Ollel wise. Y'>'M' right to sue based on the ab<MHunbered charge wi1 be lost

      D        The EEOC is continuing its handling of your ADE.A case. Howe.w. if 60 days have passed since lhe filing of the charge,
               you may fde suit in federal or state court under the ADEA at this time.

EqUlll Pay Act (EPA): you already hawtthe right to -ooderthe EPA (filing an EEOC dage is not iequiled.} EPA suits must be tJrolVlt
in fedmal or mle cota1wilhin2 yiws (3 years for willful Wolaliolis) of h alleged EPA unc:terpeyment. This means ttlat baclEpaJ due for
any vlollltions that occurred lllONt . . . 2 \!!!!! (3 ft!!'!)~ JOU file suit may not be collKtible

ff you fiJa suit. based on this charge, please send a copy of your court complaint to tis office.

                                                                         On behalf of the Commission


                                                                                                                   07/25l2019


Enclosures(s)                                                         Jamie R. Williamson.
                                                                        District Director

cc:          KllfiAlade
             EEO~. EEOfAA Etnplct,.e Relations Department
             SEPTA-
             1234 . . . . . StNet, 9th Floor
             Phi........ PA 19107
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                 Southeastern Pennsylvania Transportation Authority
                 Victory District
                  11 O Victory Avenue, 2nd Floor • Upper Darby, PA 19082




                                                                           January 18, 2018




Ms. Wanda Titus-Williams
4936 N. 19tti St.
Philadelphia, Pa. 19141

Dear Ms. Titus-Williams:

Our records indicate that you have exhausted ALL of your sick benefits related to your
back injury/illness. You are hereby notified that you do not have any further sick time
and or pay. Further call offs for this injury/illness not approved under FMLA will result in
immediate termination of employment with the Authority.

If you have any questions, please call the District during normal business hours at 215-
580-3845 or contact your Union Representative.



                                      Sincerely yours,




                                    ~~
                             Director Surface Transportation
                                      Victory District


Jmslrpt

CERTIFIED# 7013 0600 0000 2227 2963
CC SMART 1594 Waverly Harris 7013 0600 0000 2227 2925
Regular Mail
      Case 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 10 of 20




                                                           AMERIHEALTH CASUALTY
                                               1700 Market Street, Suite 700 - Philadelphia PA 19103
                                                Phone: (800) 335-5972 Fax: (888) 636-7725
 June 06, 2018


 Wanda Titus-Williams
 4936 N. 19• Street
 Philadelphia, PA 19141


       Re: Workers' Compensation
       Employer: SEPTA
       Claim Number: 430-118-38914
       Date of Injury: 03/12/2018

  Dear Ms. Titus-Williams,

    Please review the checked items below and the enclosures, and then follow the instructions provided.
     Items marked for return are needed to further process or close your claim.

    Please Keep For Your Records:

      Statement of Wages
      Notice of Temporary Compensation Payable
      Notice of Compensation Payable
X     Notice of Denial
X     Notice Stopping Temporary Compensation Payable
      Notice of Reinstatement of Workers Compensation Benefits
      Notice of Ability to Return to Work
      Notice of Worker's Compensation Benefit Offset
      Notice of Suspension for Failure to return forms LIBC 760
      Notification of Suspension or Modification




 Please Si                                                           is or our records .




If you have any questions, please contact me at 215-587-1838.

Sincerely,

ant,%-Cl~
~;r$t
Senior Claims Adjuster

CC:
                      Case 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 11 of 20

  ~ pennsylvania                                                                           NOTICE OF WORKERS'
  ~            DEPARTMENT OF LABOR & INDUSTRY
   ~           BURFAU OF WORKERS' COMPFNSATION                                            COMPENSATION DENIAL



EMPLOYEE
                                                                                                              ~
                                                                                                              MM

                  WANDA R lITUS-WIWAMS
                  4936 N 19TH ST
                  PHILADELPHIA PA 19141                                                                          MM           DD         yyyy




                                                                                                                         WC ID NUMBER


                                     MM           DD           yyyy

            County                                                                                                    WCAIS CLAIM NUMBER

            Telephone                     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                            _2~15_3_2_45_966                                                                       !sjojsl 5 j 7 jslsJ
EMPLOYER                                                                                             INJURY INFORMATION
Name      Southeastern PeMsylvania Transportation Authority                                            Part of body injured
                                                                                   Oise
Address_ 110VICTORY AVE

Address-------------------

 City/fown UPPER DARBY                         State PA    ZIP 19082-9991__
                                                                                                           Nature of injury
 County------+-------~------­                                                      Strain or Tear [Internal derangement, the trauma to the muscle
                                                                                  or the musculotendinous unit from violent contraction or excessive
 Telephone 9042965055                          FEIN    231642972
                                                                                  forcible stretch. J

INSURER
 Name Southeastern Pennsylvania Transportatio!l Authority_ _ _ __                              AccidenUjnjurv description narrative
                                                                                   STRAIN/NECK BACK - OPPOSING VEHICLE MADE CONTACTTO
 Address 110 VICTORY AVE
                                                                                   DRIVERS SIDE WINDOW, MIRROR
 Address-------------------
 City{fown UPPER DARBY                         State PA ZIP 19082~!!9.9__ _

 County _ _ _ _ _ _ _ ~------------~

 Telephone 9042965055                          FEIN 231642972

 NAIC c;Qde.   ------~· Insurer code _0_7_
                                         60~~--
 Insurer/Administrator claim # - - - - - - - - · - - -
                                                                                   County _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                   ~




TPA                                                                                Check if occupational disease   0
 Name      CompseNiceS ln¢1AmeriHeallh Casualty SeMces                           NOTICE TO EMPLOYEE: The employer/insurer has decided to deny
                                                                                 you workers' compensation benefits. You have the right to contest
 Address 1717 ARCH ST: FL "'5
                                                                                 this denial by timely filing a petition. Petitions may be either
                                                                                 electronically filed in WCAIS or sent to the Workers' Compensation
 Address
                                                                                 OITice of Adjudication, 1010 N. Seventh St., Suite 202, Hanisburg, PA
 City[rown PHILADELPtllA                       State PA ZIP_1_9_103
                                                                 _ _ __          17102-1400.

 County _ _ _ _ _             +-------------                                    Do not use Uris form to accept a medical-only claim. This notice
                                                                                shall be sent to the employee or dependent and filed with the Bureau
 Telephone 21556712141                         FEIN 251686665                   of Worker's Compensation via electronic format no later than 21 days
                                                                                after notice or knowledge to the-employer of the employee's disability
 Insurer/Administrator ~aim# 7774301180038914                                   or death. A separate paper copy of this EDI-generated form should
                                                                                not be uploaded or sent to the Bureau.

                        S~ific          information regarding this claim is on the reverse side of this form.
                                                                       {OYER)
  Ue<:-496 l'tEV 03-16 (l'itgel 1)
                     Case 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 12 of 20

   ~           pennsylvania
    ~          DEPARTMENT OF LABOR & INDUSTRY                                           NOTICE STOPPING
      ~        BUREAU OF WORKERS' COMPENSATION
                                                                                    TEMPORARY COMPENSATION

EMPLOYEE
                                                                                                                   DATE OF NOTICE

                 WANDA R TITUS-WIWAMS
                 4936 N 19TH ST
                 PHILADELPHIA PA 19141



                                                                                                            MM         DD            yyyy

                                                                                                            SOCIAL SECURITY NUMBER
             Date of birth

                                 MM          DD             yyyy
                                                                                                                    WC IO NUMBER - -         -

             Telephone 21532"'5966

EMPLOYER                                                                                                         WCAIS CLAIM NUMBER
Name §outheastem Pennsylvania Transportation Authority                                                       lslolsjej1j9lsl
Address 110 VICTORY AVE

Address

City/Town UP~ER DARBY                  State PA      ZIP_19032:~
County _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Telephone 90-42965055                  FEIN 231642972


INSURER
 Name Southeastern Pennsylvania Transl).CJ!t2ltion,_,_Authority==·,___ _ __
 Address 110VICTORYAVE                                                                 NOTICE TO INSURER: This notice must be filed In
                                                                                       WCAIS via electronic format no later than five days
 Address-------------------
                                                                                       after the last payment cl temporary COOlJerlsatiOn.
 City/Town UPPER DARBY                 State PA ZIP 19082-9999                         A copy must be sent to the employee. A separate
                                                                                       paper copy cl this EDI-generated form shoukl not be
 County _ _ _ _ _ _ _ _ _ _             ~


                                                ----·--          ~   - -               uploaded or sent to the Bu~au.
 Telephone 9042965055                   FEIN 231642972

 NAIC code - - - - - - - - Insurer code0_7_60_ _
 lnsurer/Administrator claim #
                                    -----------
TPA
 Name      Comoservices lnc/AmeriHealth Casualty Serviees

 Address 1717 ARCH ST FL 45
 Address _ _ _ _ _>---_

 City/Town PHILADELPHli'               State PA ZIP_1_9_103
                                                         _ _ __

 County _ _ _ _ _~------------~
Telephone 2155871214                   FEIN 251686685

Insurer/Administrator claim#m43Q.1_1~.=:=:B9::..:1:..:4_______



                        Specific information regarding this claim is on the reverse side of this form.
  LI8C-502 REV 03·16 (Page~)                                               (OYER)
       Case 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 13 of 20


                 SouthcClotcrn Penn>Jylvania Tn:m:sportntlon Auttmrlty
                 Victory District
                 11 O Victory Avenue, 2nd Floor • Upper Darby, PA 19082


                             \

                                 '\

                                                                          June 26. 2018




Ms. Wanda Titus-Williams
4936 N. 19th St.
Philadelphia, Pa. 19141

Dear Ms. Titus-Williams;

We have been informed that your Injured on Duty claim from March 12, 2016         has been
denied as of June 4, 2018. Since our records indicate that you have exhausted ALL of
your sick benefits related to your back injury/illness, you will be given until July 9, 2018
to return to work. Failure to return to work as of Monday, July 9, 2018 will result in
immediate termination of employment with the Authority for expiration of sick leave.

If you have any questions, please call the District during normal business hours at 215~
580-3845 or contact your Union Representative.



                                        Sincerely yours,



                                       ~~~
                                          James Schirg
                                 Director Surface Transportation
                                          Victory District


Jms/rpt

CERTIFIED# 7015 1520 0000 3792 4925
CC SMART 1594 Waverly Harris 7015 1520 0000 3792 4932
Regular Mail
         Case 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 14 of 20




· · t· WorkPartners
July 02, 2018


                                                                                    Leave Number- 281251
WANDA TITUS-WILLIAMS
4936 N. 19TH ST.
PHILADELPHIA. PA 19141

Subject: FMLA Renewal Required



Dear Ms. TITUS-WILLIAMS:

This letter is to inform you of the status of your intermittent FMLA leave.

Your FMLA leave was approved from 0l/22/2018 until 07/2l/2018. Should you still need FMLA for this
reason and have available time remaining. you will be required to furnish updated supporting documentation.

To request a new intermittent leave, please contact the Work.Partners Intake Line at 1-844-860-9305.

If you have any questions regarding this letter please contact me at the phone number listed below.


Sincerely,
 Alyssa Weisensee
SEPTA Leave Administration Unit
412-454-0561
weisenseeam@upmc.edu
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 ;::,.
  . WorkPartners
July 02, 2018


                                                                                      Leave Number - 281246

WANDA TITUS-WILLIAMS
4936 N. 19TH ST.
PHILADELPHIA, PA 19141


Subject: FMLA Renewal Required



Dear Ms. TITUS-WILLIAMS:

This letter is to inform you of the status of your intermittent FMLA leave.

Your FMLA leave was approved from 01/22/2018 until 07/2l/2018. Should you still need FMLA for this
reason and have available time remaining, you will be required to furnish updated supporting documentation.

To request a new intermittent leave, please contact the WorkPartners Intake Line at 1-844-860-9305.

If you have   any questions regarding this letter please contact me at the phone number listed below.
Sincerely,
Alyssa Weisensee
SEPTA Leave Administration Unit
412-454-0561
weisenseeam@Npmc.edu
       Case 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 16 of 20


                    Southeastern Pennsylvania Transportation Authority
                    Victory District
                    110 Victory Avenue, 2nd Floor • Upper Darby, PA 19082




                                                                             July 9, 2018   ·




Ms. Wanda Titus-Williams
4936 N. 1.9th St.
Philadelphia, Pa. 19141

Dear Ms. Titus-Williams:

You have exhausted all of your sick leave and are hereby dropped from the rolls of the
Authority effective immediately for expiration of sick leave.


If you have any questions, please call the District during normal business hours at 215-
580-3845 or contact your Union Representative.



                                       Sincerely yours,




                                      fa-~
                                        James Schirg
                               Director Surface Transportation
                                        Victory District


Jms/rpt

CERTIFIED# 7015 1520 0000 3792 4949
CC SMART 1594 Waverly Harris 7015 1520 0000 3792 4956
Regular Mail
       Case 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 17 of 20


                 Southeastern Pennsylvania Transportation Authority
                 Victory District
                 11 O Victory Avenue, 2nd Floor • Upper Darby, PA 19082




                                                                             July9, 2018




Ms. Wanda Titus-Williams
4936 N. 19th St.
Philadelphia, Pa. 19141

Dear Ms. Titus-Williams;

You have exhausted all of your sick leave and are hereby dropped from the rolls of the
Authority effective immediately for expiration of sick leave.


If you have any questions, please call the District during normal business hours at 215-
580-3845 or contact your Union Representative.



                                    Sincerely yours,



                                    r~
                                     James Schirg
                            Director Surface Transportation
                                     Victory District


Jms/rpt

CERTIFIED# 7015 1520 0000 3792 4949
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Regular Mail
         Case 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 18 of 20




                                    J'~                              ....tiaC'
 Local Office                           .,"•rat. Air, Rall nd rraftSPOri-w
 6938 Market St.
 2nd Floor #3                  Transportation Division
              '




 May3, 2019




 Dear Sister Wanda Titus-Williams,




 I am writing this letter to inform you that unfortunately, after careful consideration of your case,
 including reviewing the evidence along with consulting with the International attorneys; this Union
 board has determined that your case does not merit arbitration. The Union does not believe that it
 would be successful in arbitration given the corroborating evidence for exhausting of sick
 leave. Accorc:Ungly, the Union will not move your case to arbitration. Despite this Committee's best
 efforts to persuade the Authority to reconsider their position/actions in the outcome of your
 case, the Authority is unwilling to do so. While I understand that this may not have been the answer
 you were seeking, it is the decision of the Committee.




z;;J,ally    '{Ours,


 Waverly • arris S .
 President/Gen    hairman SMART Local 1594
 (267)973-0102/ wwh70@yahoo.com
                   Case
                     . 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 19 of 20
                                                            UNITED STATES DISrRICT COURT
                                                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA                                             19                  4743


Place of Accident. Incident or T r a n s a c t i o n : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


RELATED CASE, IF A.NY:
Case Number: _ _ _ _ _ _ _ _ _ _ _                  ~
                                                                                                                         Date Terminated:

Civil cases arc deemed relatx:d when Ya is answered to any of the following questions:

1.   Is this case related to property included in an earlier numbered suit pending or within one year
     previously temrlnated action in this court?
                                                                                                                             YesD                  N~
2.   Does this case involve the same issue of     met
                                              or grow out of the same transaction as a prior suit
     pending or within ope year previously ~d action in this court?
                                                                                                                             YcsD                  N~
3.   Does this case invo~ve the validity or infringement of a patent already in suit or any earlier
     numbered case pending or within one year previously terminated action of this court?
                                                                                                                             YcsD                  No@
4.   Is this case 11. second or successive habeas corpus, social security appeal. or pro se civil rights
     case filed by 1he same individual?
                                                                                                                             YesD                  NoEJ
I certifytJ:W. to my knowledge, the within case      D    is I~ is not related to any case now pending or within one year previously terminated action in


::w&                                                       lftfk~ -!lh! _ __
                                                                     Awmey-at-Law I Pro Se Plaintiff                                    Attorney ID. f. (ifapplicable)


CIVIL: (Place a .Jin oae tatqory only)

A          Feiknl ~11 C11Sa:

D    1.    Indemnity Contract, Marine Contract. imd All Other Contracts                 D      i.   Insurance Contract 11.Dd Other Contracts
D    2.    FELA                                                                         D     2.    Airplane Personal Injmy
D    3.    Jones Act-Personal Injury                                                    D     3.    Assault. Defamation
D    4.  Antitrust                                                                      D     4.    Marine Personal Injury
                                                                                        D
B
D
     5.
     6.
     'h
         Patent
         Labor-Management Relations
         Civil Rights
                                                                                        D
                                                                                        D
                                                                                              5.
                                                                                              6.
                                                                                              1.
                                                                                                    Motor Vehicle Personal Jnjmy
                                                                                                    Other Personal Injury (Please specify): - - - - - - - -
                                                                                                    Products Liability
D    8.  Habeas CorpliS                                                                 D s.        Products Liability- Asbestos
     9.  Securities Act(s) Cases                                                        D     9.    All other Diversity Cases
B    10. Social Security Review Cases
     11. All other Federal ~n~, ;,,?
                                      1                                  ~~      , L1
                                                                                                    {Please specify): _ _ _ _ _ _ _ _ _ _ _ _ __


           (Pleasespecify):   ~~~ ~ r/.r1/-.,,,r1

                                                                        ARBITRATION CERTJFICATION
                                               (The effect ofthis certification u to rell'IOYe Ow case from eligibilizy for arbitraJton.)

I. ______                      _ _ _ _ _ __,counsel of record or prose plain~ do hereby certify:


     D     Pursuant t:o Uocal Civil Rule 53.2. § 3(c) (2). that to the best of my knowledge and belief: the damages recoverable in this civil action case
           exceed the Slim of$150,000.00 exclusive of interest and costs:


     D     Relief other than monetary damages is sought.



DATE.--------------
                                                                      Altornq-at-Law I Pro Se Plaintiff                                .Aaorney LD. f. (ifapplicable)

NOTE: A trial de novo will be a trial by jmy ooly ifthete has been compliance with F.R.C.P. 38.
      Case 2:19-cv-04743-MAK Document 1 Filed 10/11/19 Page 20 of 20


                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                    CASEMANAGEMENTTRACKDESIGNATIONFORM

                   -?-£1i!S · a:Tl-~ :                                      CIVIL ACTION

                       v.
                                                                            NO.     19            4743
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of1he plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus- Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )
(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53 .2.     ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )
(e) Special Management- Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the c<>urt. (See reverse side of this form for a detailed explanation of special
    mrumgement cases.)                                                                              ( )

(f) Standard Management - Cases that do not fall into any one of the other tracks.                !:><'

Da~



Telephone                          FAX Number                           E-Mail Address


(OT. 660) l,0/02
